                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE CONFERENCE of the                        )
NATIONAL ASSOCIATION for the                       )
ADVANCEMENT of COLORED                             )
PEOPLE, et al.,                                    )
                                                   )       NO. 3:20-cv-01039
     Plaintiffs,                                   )
                                                   )       JUDGE CAMPBELL
v.                                                 )       MAGISTRATE JUDGE FRENSLEY
                                                   )
WILLIAM LEE, et al.,                               )
                                                   )
     Defendants.                                   )

                                          MEMORANDUM

         Pending before the Court is a motion for summary judgment on Counts Four, Five, and Six

filed by Defendants Trey Hargett and Mark Goins (Doc. No. 150), and a cross motion for summary

judgment on Counts Four and Six filed by Plaintiff Tennessee National Association for the

Advancement of Colored People (“TN NAACP”) (Doc. No. 153). The motions are fully briefed

as to Counts Four, Five, and Six, and ripe for consideration. (Doc. Nos. 182, 190, 180, 192). For

the reasons set forth more fully below, the motion filed by Hargett and Goins will be denied and

TN NAACP’s motion will be granted in part and denied in part.


                                     I.   INTRODUCTION

         A felony conviction does not always result in the loss of voting rights in Tennessee because

of the structure of Tennessee’s constitution and discrepancies in Tennessee’s disenfranchisement

statute. Counts Four, Five, and Six of the present case arise from Tennessee’s voter registration

form for elections for Federal office and policies for processing those forms from applicants who

have been convicted of a felony.




Case 3:20-cv-01039          Document 221        Filed 04/18/24     Page 1 of 51 PageID #: 3641
       In Count Four, TN NAACP claims that Tennessee’s form to register to vote in elections for

Federal office (hereinafter referred to as the “State Form”) fails to inform applicants of Tennessee’s

voter eligibility requirements, in violation of the National Voter Registration Act of 1993

(“NVRA”). (See First Amended Complaint, Doc. No. 102 ¶¶ 153-57). In Count Six, TN NAACP

claims that, since 2014, Tennessee has implemented a policy of rejecting forms to register to vote

in elections for Federal office on which applicants indicate they have a prior felony conviction and

requiring those applicants with a prior felony conviction to provide documentary proof of their

eligibility to vote, in violation of multiple sections of the NVRA. (See id ¶¶ 162-68). Count Five

is brought under 42 U.S.C. 1983. In that Count, TN NAACP claims that Tennessee’s policy of

rejecting all voter registration forms on which the applicant affirmed they have a felony conviction

violates eligible voters’ fundamental right to vote in violation of the First and Fourteenth

Amendments. (See id. ¶¶ 158-61).

       In Counts Four through Six, TN NAACP seeks a preliminary and permanent injunction

enjoining Hargett and Goins, in their official capacities, from rejecting valid voter registration

applications from eligible voters and requiring Hargett and Goins, in their official capacities, to

create registration forms and policies that comply with the NVRA and do not impose an undue

burden on the right of eligible citizens to register to vote, including:

           i.   specifying the eligibility requirements on all registration forms,

          ii.   modifying the state voter registration form such that it can be used by all eligible

                citizens even if they have been convicted of a felony,

         iii.   modifying the online voter registration portal such that it can be used by all eligible

                citizens even if they have been convicted of a felony, and




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Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 2 of 51 PageID #: 3642
         iv.     issuing statewide guidance prohibiting the requirement that people with convictions

                 provide documentary proof of their eligibility and proscribing the rejection of valid

                 voter registration applications from eligible voters because the applicant has a

                 felony conviction.

(See First Amended Complaint, Doc. No. 102 at PageID # 658-59).


           II.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY1

        Article 1, Section 5 of the Tennessee Constitution provides that “[t]he elections shall be

free and equal, and the right of suffrage, as hereinafter declared, shall never be denied to any person

entitled thereto, except upon conviction by a jury of some infamous crime, previously ascertained

and declared by law, and judgment thereon by court of competent jurisdiction.” Tenn. Const. art.

I, § 5. This provision is not self-executing, and disenfranchisement cannot be applied retroactively.

Gaskin v. Collins, 661 S.W.2d 865, 867 (Tenn. 1983). Thus, persons convicted of crimes are not

disenfranchised unless prior to their conviction the legislature has by law “ascertained” that those

crimes are “infamous” and “declared” that conviction of those crimes results in loss of the right to

vote. Crutchfield v. Collins, 607 S.W.2d 478 (Tenn. Ct. App. 1980).2

        Because of this constitutional structure, a felony conviction does not always result in the

loss of voting rights in Tennessee. (Doc. No. 181 ¶ 1). A felony conviction before January 15, 1973

(a “pre-1973 conviction”) does not disqualify a person from voting unless the conviction is for one



1
         This Memorandum is limited to facts and procedural history concerning Counts Four through Six
of the First Amended Complaint, Doc. No. 102.
2
        Such laws, which “designate a particular civil disability that occurs upon the conviction and
remains in effect throughout the defendant's life unless restored by a specific statutory procedure,” are
known as “specific disability statutes.” Cole v. Campbell, 968 S.W.2d 274, 276 (Tenn. 1998) (citing Special
Project, The Collateral Consequences of a Criminal Conviction, 23 Vand. L.Rev. 929, 951 (1970)).

                                                    3

Case 3:20-cv-01039          Document 221          Filed 04/18/24       Page 3 of 51 PageID #: 3643
of 21 specific potentially infamous crimes listed in state law and the judgment of conviction

included a statement rendering the crime “infamous.” (Id. ¶ 2; Defendants’ answer to First

Amended Complaint, Doc. No. 199 ¶ 110). A felony conviction between January 15, 1973, and

May 17, 1981, (the “grace period”) never disqualifies a Tennessean from voting. (Doc. No. 181 ¶

3; see also Doc. No. 199 ¶¶ 107, 109).3 An otherwise qualified person with convictions only from

this period did not lose the right to vote as a result of those convictions. (Id.).




3
        Prior to 1972, Tennessee Code Annotated Section 40-2712 provided:

                Upon conviction of the crimes of abusing a female child, arson and
                felonious burning, bigamy, burglary, felonious breaking and entering a
                dwelling house, felonious breaking into a business house, outhouse other
                than a dwelling house, bribery, buggery, counterfeiting, violating any of
                the laws to suppress the same, forgery, incest, larceny, horse-stealing,
                perjury, robbery, receiving stolen property, rape, sodomy, stealing bills of
                exchange or other valuable papers, subornation of perjury, and destroying
                a will, it shall be part of the judgment of the court that the defendant be
                infamous, and be disqualified to exercise the elective franchise …

Crutchfield, 607 S.W.2d at 480 (emphasis added). In 1972, Section 40-2712 was amended to provide:

                Upon conviction of the crimes of abusing a female child, arson and
                felonious burning, bigamy, burglary, felonious breaking and entering a
                dwelling house, felonious breaking into a business house, outhouse other
                than a dwelling house, bribery, buggery, counterfeiting, violating any of
                the laws to suppress the same, forgery, incest, larceny, horse-stealing,
                perjury, robbery, receiving stolen property, rape, sodomy, stealing bills of
                exchange or other valuable papers, subornation of perjury, and destroying
                a will, it shall be part of the judgment of the court that the defendant be
                infamous…

Id. at 480–81 (emphasis added). As explained by the Tennessee Court of Criminal Appeals:

                Notice that the words “and be disqualified to exercise the elective
                franchise” are left out of the act as amended in 1972. This change does not
                change the crimes listed in any way. It simply does not require that persons
                convicted of the listed crimes lose the right to exercise the elective
                franchise. In 1981 the legislature again amended this code section and
                included the words “and be immediately disqualified from exercising the
                right of suffrage.”

Wilson v. State, No. 03C01-9604-CC-00142, 1997 WL 459728, at *3 (Tenn. Crim. App. Aug. 12, 1997).

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Case 3:20-cv-01039          Document 221          Filed 04/18/24        Page 4 of 51 PageID #: 3644
       “In 1981, the Tennessee legislature expanded the relevant statutory section to provide that

any felony conviction would result in a declaration of infamy.” May v. Carlton, 245 S.W.3d 340,

345 (Tenn. 2008) (emphasis in original). Accordingly, felony convictions after May 18, 1981—

whether by a Tennessee court, a court in another state, or a federal court—result in loss of the right

to vote in Tennessee, until that right has been restored pursuant to state law. (Doc. No. 181 ¶ 4).

A. The National Voting Rights Act of 1993

       The NVRA, Pub. L. No. 103–31, 107 Stat. 77 (codified as amended at 52 U.S.C. §§ 20501–

20511), “requires States to provide simplified systems for registering to vote in federal elections,

i.e., elections for federal officials, such as the President, congressional Representatives, and United

States Senators.” Young v. Fordice, 520 U.S. 273, 275 (1997) (emphasis in original). It was enacted

under Article I, Section 4 of the Constitution, more commonly known as the Elections Clause, in

response to congressional findings that discriminatory and unfair voter registration laws and

procedures can have a direct and damaging effect on voter participation in elections for Federal

office and disproportionality harm voter participation by various groups, including racial

minorities. 52 U.S.C. § 20501(a)(3).

       In crafting the NVRA, the 103rd Congress had four overriding purposes:

               (1) to establish procedures that will increase the number of eligible
                   citizens who register to vote in elections for Federal office;

               (2) to make it possible for Federal, State, and local governments to
                   implement this chapter in a manner that enhances the
                   participation of eligible citizens as voters in elections for Federal
                   office;

               (3) to protect the integrity of the electoral process; and

               (4) to ensure that accurate and current voter registration rolls are
                   maintained.


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Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 5 of 51 PageID #: 3645
Id. at § 20501(b). To achieve these purposes, the NVRA “requires each State to permit prospective

voters to ‘register to vote in elections for Federal office’ by any of three methods: simultaneously

with a driver's license application, in person, or by mail.” Arizona v. Inter Tribal Council of

Arizona, Inc.(“ITCA”), 570 U.S. 1, 5 (2013); 52 U.S.C. § 20503(a). The NVRA further requires

each State to “inform applicants under sections 20504, 20505, and 20506 of this title of voter

eligibility requirements.” 52 U.S.C. § 20507(a)(5)(A). The NVRA also requires “[a]ny State

program or activity to protect the integrity of the electoral process by ensuring the maintenance of

an accurate and current voter registration roll for elections for Federal office” to “be uniform,

nondiscriminatory, and in compliance with the Voting Rights Act of 1965.” Id. § 20507(b)(1).

        The NVRA requires states to “accept and use” a uniform Federal form (“the Federal Form”)

for registering to vote in federal elections. Id. § 20505(a)(1). The contents of the Federal Form are

prescribed by a federal agency, the Election Assistance Committee. Id. 4 The Federal Form contains

state-specific instructions, which must be approved by the Election Assistance Committee before

being included on the Federal Form. ITCA, 570 U.S. at 6. The Federal Form does not require

documentary evidence of eligibility to register to vote; rather, it requires only that an applicant

aver, under penalty of perjury, that he is eligible to register to vote. And the NVRA precludes states

“from requiring a Federal Form applicant to submit information beyond that required by the form

itself.” ITCA, 570 U.S. at 20; 52 U.S.C. § 20505(a)(1).

        The NVRA also permits each state to develop and use its own mail voter registration form

to vote in federal elections (“State Form”) so long as the State Form meets the criteria stated in


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         “The Help America Vote Act of 2002 [“HAVA”] transferred this function from the Federal Election
Commission to the EAC.” ITCA, 570 U.S. 1, 6 n.1 (2013); see 52 U.S.C. § 21131. Under HAVA, the EAC
directs funding to states for improving the administration of federal elections and access to voters with
disabilities, research grants for new technologies, and pilot programs for testing new equipment and
technologies. 52 U.S.C.A. § 21001.

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Case 3:20-cv-01039          Document 221         Filed 04/18/24       Page 6 of 51 PageID #: 3646
Section 20508(b). 52 U.S.C. § 20505(a)(2), 20508(b).5 The NVRA establishes a private cause of

action for those aggrieved by a violation to seek declaratory or injunctive relief. 52 U.S.C. §

20510(b); Harkless v. Brunner, 545 F.3d 445, 450 (6th Cir. 2008) (“NVRA authorizes judicial

intervention if a state fails to comply with its terms.”).

B. Arizona v. Inter Tribal Council of Arizona, Inc.

        In 2013, the Supreme Court took up the question of whether an Arizona state law which

required state officials to “reject” a Federal Form unaccompanied by documentary evidence of

citizenship conflicted with the NVRA’s mandate that Arizona “accept and use” the Federal Form.

ITCA, 570 U.S. at 9 (“If so, the state law, so far as the conflict extends, ceases to be operative.”)

(internal quotations omitted). With Justice Scalia writing for the majority, the Court began its

analysis with consideration of the Elections Clause, which “empowers Congress to pre-empt state

regulations governing the ‘Times, Places and Manner’ of holding congressional elections.” ITCA,

570 at 8. The Court explained that the these “comprehensive words” in the Elections Clause

“‘embrace authority to provide a complete code for congressional elections,’ including, as relevant

here…, regulations relating to ‘registration.’” Id. at 8-9 (quoting Smiley v. Holm, 285 U.S. 355,

366 (1932)); Moore v. Harper, 600 U.S. 1, 10 (2023) (The Elections Clause guards against the

possibility that a State would refuse to provide for the election of representatives in federal

elections, by authorizing Congress to prescribe its own rules). It expressly rejected the argument

that the presumption against preemption applies in Election Clause cases, holding that the plain


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        Throughout their briefing, the parties refer to Tennessee’s mail voter registration form to vote in
elections for Federal office developed pursuant to Section 20505(a)(2) in a variety of ways, including as
“voter registration forms,” “Tennessee’s voter registration form,” “state-issued mail-in voter registration
form,” “the State’s registration form(s),” “voter registration application(s),” and “application(s).” As a
general matter, any unspecified reference to forms or applications in this Memorandum means Tennessee’s
mail voter registration form to vote in elections for Federal office developed pursuant to Section
20505(a)(2), i.e. the “State Form.” The Federal Form is exclusively referred to the Federal Form.

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Case 3:20-cv-01039          Document 221          Filed 04/18/24       Page 7 of 51 PageID #: 3647
text of the NVRA “accurately communicates the scope of Congress’s preemptive intent.” Id. at 13-

14. Thus, “the States' role in regulating congressional elections—while weighty and worthy of

respect—has always existed subject to the express qualification that it ‘terminates according to

federal law.’” Id. at 15 (quoting Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S. 341, 347

(2001)).

       The Supreme Court was not persuaded by Arizona’s argument that Section 20505(a)(1)

“require[d] merely that a State receive the Federal Form willingly and use that form as one element

in its (perhaps lengthy) transaction with a prospective voter;” rejecting Arizona’s reading of the

statute as “out of place in the context of an official mandate to accept and use something for a

given purpose” because “[t]he implication of such a mandate is that its object is to be accepted as

sufficient for the requirement it is meant to satisfy.” ITCA, 570 at 9. (emphasis in original). The

Supreme Court determined that “a state-imposed requirement of evidence of citizenship not

required by the Federal Form is ‘inconsistent with’ the NVRA's mandate that States ‘accept and

use’ the Federal Form.” Id. at 15.

       Nor was the Supreme Court persuaded by Arizona’s contention “that its construction of the

phrase “accept and use” was necessary to avoid a conflict between the NVRA and Arizona's

constitutional authority to establish qualifications (such as citizenship) for voting.” Id. at 15-16.

The Court explained:

               …Arizona is correct that it would raise serious constitutional doubts
               if a federal statute precluded a State from obtaining the information
               necessary to enforce its voter qualifications. If, but for Arizona's
               interpretation of the “accept and use” provision, the State would be
               precluded from obtaining information necessary for enforcement,
               we would have to determine whether Arizona's interpretation,
               though plainly not the best reading, is at least a possible one.
               Happily, we are spared that necessity, since the statute provides


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Case 3:20-cv-01039         Document 221        Filed 04/18/24      Page 8 of 51 PageID #: 3648
               another means by which Arizona may obtain information needed for
               enforcement.
               Section [20508](b)(1) of the Act provides that the Federal Form
               “may require only such identifying information (including the
               signature of the applicant) and other information (including data
               relating to previous registration by the applicant), as is necessary to
               enable the appropriate State election official to assess the eligibility
               of the applicant and to administer voter registration and other parts
               of the election process.” … That is to say, § [20508] (b)(1) acts as
               both a ceiling and a floor with respect to the contents of the Federal
               Form….
               Since…a State may request that the EAC alter the Federal Form to
               include information the State deems necessary to determine
               eligibility and may challenge the EAC's rejection of that request in
               a suit under the Administrative Procedure Act, no constitutional
               doubt is raised by giving the “accept and use” provision of the
               NVRA its fairest reading.
ITCA, 570 U.S. at 17-20. Accordingly, the Supreme Court held that Section 20505(a)(1)’s mandate

that States “accept and use” the Federal Form to register voters for federal elections pre-empted

Arizona law's requirement that voters present proof of citizenship when they registered to vote, as

applied to federal form applicants. See id.

C. Tennessee Election Officials Defendants

       Defendant Trey Hargett is the Secretary of State of Tennessee (“the Secretary”), and

Defendant Mark Goins, under the supervision of Secretary Hargett, is the Coordinator of Elections

for Tennessee (“the Coordinator”) (collectively “Tennessee Election Officials”). (Doc. No. 181 ¶

16). Coordinator Goins is the head of the Tennessee Secretary of State’s Election Division

(“Election Division”), the “chief election officer of the state,” and is charged with obtaining and

maintaining uniformity in the application, operation, and interpretation of the election code. (Doc.

No. 181 ¶ 16). Secretary Hargett first appointed Mark Goins as Coordinator of Elections for

Tennessee in 2009. (Doc. No. 180-1 ¶ 1). As the Coordinator of Elections, Coordinator Goins is

responsible for preparing instructions for voter registration and interpreting the election laws.
                                                  9

Case 3:20-cv-01039        Document 221         Filed 04/18/24       Page 9 of 51 PageID #: 3649
(Doc. No. 181 ¶ 17). Secretary Hargett and Coordinator Goins are responsible for the State of

Tennessee’s compliance with the National Voting Rights Act. (Id.).

D. Tennessee’s State Voter Registration Form for Elections for Federal Office

        Tennessee has made and tested changes to its State Form resulting in numerous versions

of the form having been used over the years. (Doc. No. 181 ¶ 18). There are two specific versions

of the State Form at issue in Count Four. The first version was used in the November 2020 general

election and provides the following instruction regarding eligibility to vote for individuals with

felony convictions: “To register to vote: … you must not have been convicted of a felony, or if

you have, your voting rights must have been restored.” (Id. ¶ 30; Doc. No. 156-12; see also

Coordinator Goins April 2021 letter, Doc. No. 156-36 at PageID # (“several employees of

[Election Division] worked to revise and replace the Tennessee mail-in voter registration

application, Form SS-3010, prior to the November 2020 election”).6 The second version is the

latest iteration of the State Form, which was “put into use” sometime between December 2020 and

March 2021, provides the following instruction about eligibility based on a felony conviction:

                If you have had a felony conviction, your eligibility to register and
                vote depends upon the crime you were convicted of and the date of
                your conviction. To assist in processing your application, provide
                the required information in box 4 and any responsive documents you
                have. For more information about this process, call 1-877-850-4959
                or visit sos.tn.gov/restoration.

(Doc. No. 181 ¶¶ 19, 27; Doc. No. 156-10).




6
        Coordinator Goins’ office staff and the Tennessee Secretary of State’s Election Division appear to
be one and the same. See e.g., Green Party of Tennessee v. Hargett, 953 F. Supp. 2d 816, 825 (M.D. Tenn.
2013), vacated and remanded, 767 F.3d 533 (6th Cir. 2014) (“[t]he State Coordinator’s office has eight (8)
full-time employees, whose duties include … implement[ing] various federal and state election regulations,
including [HAVA] and the [NVRA].”).

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Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 10 of 51 PageID #: 3650
        The latest version of the State Form does not state that grace period felony convictions are

non-disqualifying or that convictions before January 15, 1973 are only disqualifying in certain

circumstances. (Doc. No. 181 ¶¶ 20-21; Doc. No. 156-10). The latest version of the State Form

does not list the pre-January 15, 1973 infamous crimes that are disqualifying (or those that are

not), and does not include a way for an applicant to mark under penalty of perjury that they were

not convicted of an infamous crime or not declared infamous in their judgment. (Doc. No. 181 ¶

21). The latest version of the State Form directs applicants with any prior felony conviction to visit

sos.tn.gov/restoration. (Id. ¶ 22). Presently, that link routes to the Secretary of State’s website to

information on loss of voting rights. (Id.).7 The latest version of the State Form instructs applicants

to fill out the required information in Box 4 of the form and to provide “any responsive documents

you have,” without defining what “responsive documents” are and without informing applicants

that their applications will be denied if they disclose a felony conviction and do not provide

documentation. (Id. ¶ 23).

        Box 4 in the latest version of the State Form asks applicants to check a box “yes” or “no”

in response to the question: “Have you ever been convicted of a felony? (If expunged, answer

‘no’).” (Id. ¶ 24). It then directs applicants to provide certain information “if known”, including

“Crime(s)” and “Date (mo./yr.)”. (Id.). Box 4 also asks for “Place (city/state),” presumably of

conviction, and “Have you received a pardon or had your voting rights restored?” and has boxes

to indicate “yes” or “no.” (Id. ¶¶ 25, 26). It instructs “If yes, provide copy of document,” but does

not state what “copy of document” means or that an application may be rejected if such

documentation is not provided. (Id.).




7
        In early July 2023, that link resulted in a Secretary of State website page with an error message
reading “Page Not Found.” (Id.).

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Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 11 of 51 PageID #: 3651
        When the Election Division implemented the latest iteration of the State Form, Tennessee

Election Officials did not issue any specific new processing instructions to county election

commissions, beyond the instructions on the form itself and answering “calls and e-mails when

[the counties] have questions” about processing the new form. (Id. ¶ 28). The counties continued

to be authorized to accept and process prior versions of the registration form even after the latest

iteration of the State Form was released. (Id. ¶ 29). Prior versions of the State Form ask applicants

a single question concerning prior felony convictions, “Have you ever been convicted of a crime

which is a felony in this state, by a court in this state, a court in another state, or a federal court?”

and provide a checkbox to mark “Yes” and a checkbox to mark “No.” (Id. ¶ 31). Some counties

continue to use prior versions of the State Form and provided the older versions of the form on

their county websites well into July 2023. (Id. ¶ 32).

E. Federal Voter Registration Form and Tennessee-specific instructions

        United States citizens living in Tennessee may register to vote using the Federal Form,

which does not include any space for an applicant to list any information regarding a prior felony

conviction. (Doc. No. 181 ¶¶ 33-34). However, the Tennessee-specific instructions on the Federal

Form indicate that to be eligible to register to vote in Tennessee, the applicant must “not have been

convicted of a felony” and further state that if convicted, the applicant’s “eligibility to register and

vote depends upon the crime [] convicted of and the date of [] conviction,” directing applicants to

call 877-850-4959 or visit https://sos.tn.gov/gov/restoration” “[f]or more information about this

process. (Id. ¶ 35; Doc. No. 156-11). If a voter submits a Federal Form, the county processing the

form would not know whether the individual has a conviction, nor the date or type of conviction,

from the face of the form itself. (Doc. No. 181 ¶ 36).




                                                   12

Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 12 of 51 PageID #: 3652
F. Tennessee’s Registration Application Blanket Rejection and Documentation Policy

       From at least 2014 until July 21, 2023, election officials in Tennessee have rejected voter

registration forms submitted with the felony conviction question answered in the affirmative

absent additional documentation, pursuant to Election Division policy, training, and guidance.

(Doc. No. 181 ¶¶ 37-39). According to that policy, in order for a State Form with the felony

conviction question answered in the affirmative to be accepted, the elections office must have

additional documentation of the applicant’s eligibility. (Id. ¶ 40).

       Although the Federal Form has no space for voters to attest to having or not having a felony

conviction, election officials in Tennessee require documentation from applicants when they learn

about an applicant’s felony conviction(s) from a source beyond the registration form itself,

including verbally from an applicant, or by way of Tennessee statute requiring clerks of court in

every county to send notices of felony convictions to election officials, or when counties share this

information with one another. (Id. ¶ 41). Election officials also learn about a Federal Form

applicants’ felony conviction when checking a county’s “felony files.” (Id. ¶ 42).

                   Applications Indicating a Pre-January 15, 1973 Conviction

       Under the State’s blanket rejection policy, when a county election official received a voter

registration application indicating a pre-January 15, 1973 non-infamous conviction, they were

directed to reject the application, file documents with the state election office showing the date of

conviction and crime committed and wait for the state to send back an eligibility letter, despite the

applicant never having lost their right to vote. (Id. ¶ 43). Sufficient documentation required a copy

of the judgment or convicting document that showed what the person was convicted of and if they

were judged infamous. (Id. ¶ 44).




                                                 13

Case 3:20-cv-01039        Document 221         Filed 04/18/24      Page 13 of 51 PageID #: 3653
                          Applications Indicating a Grace Period Conviction

        Under the State’s blanket rejection policy, when a county official received a voter

registration application indicating a grace period conviction, they were directed to reject the

application unless they had documentation confirming the individual’s conviction was during the

grace period, such as a copy of their conviction papers showing the date of the conviction and the

type of crime. (Id. ¶ 45). While some election officials may have at times tried to work with the

voter to find and obtain the required documentation, there is no official policy requiring election

officials to do so, and the burden was ultimately on the applicant. (Id. ¶ 46).

        The Election Division has acknowledged that individuals with grace-period convictions

have faced difficulties obtaining the necessary documentation. (Id. ¶ 47). Obtaining the necessary

documentation for grace-period or non-infamous pre-1973 convictions can be difficult because

many times the conviction will be so old that the documentation will be in archives. (Id. ¶ 48).

Sometimes, the required paperwork for grace-period or non-infamous pre-1973 convictions does

not exist or cannot be found. (Id. ¶ 50). Obtaining the necessary documentation for grace-period

or non-infamous pre-1973 convictions can also cost money. (Id. ¶ 49). For example, the Shelby

County Criminal Court Clerk’s office charged a prospective voter $10 for a copy of his grace-

period judgment that he was required to submit in order to register to vote, even though he never

lost the right to vote. (Id.).

                       Applications Indicating a Post-May 17, 1981 Conviction

        Under Tennessee’s blanket rejection policy, when a county official received a voter

registration application indicating that the voter has a disenfranchising felony conviction but had

their voting rights restored, they were directed to reject the application unless the applicant also

provided documentation proving their restoration of voting rights. (Id. ¶ 51). The State Form



                                                 14

Case 3:20-cv-01039          Document 221       Filed 04/18/24      Page 14 of 51 PageID #: 3654
instructs voters who mark “yes” to the question asking if they have “received a pardon or had

[their] voting rights restored” to “provide copy of document.” (Id. ¶ 52). The form provides no

information about what kind of document(s) must be provided. (Id.).

        When processing voter registration applications indicating restoration of voting rights,

county election offices are not required to confirm whether the Election Division already has a

record of the applicant’s restoration of voting rights. (Id. ¶ 53). However, county election offices

can ask the Election Division to search for confirmation of an applicant’s restoration of voting

rights, and the Election Division can look through its “restored and denied databases” to see “if

there [is] a restoration there.” (Id.).

                                          Rejected Applications

        Upon rejecting a State or Federal Form due to a felony conviction, county election officials

are directed to send the applicant a notice of the rejection accompanied by a Voter Registration

Appeal Request Form, a Certificate of Restoration form, and a blank voter registration form. (Id.

¶ 69). The Voter Registration Appeal Request Form allows an applicant to affirm that they “have

not been convicted of a felony or if convicted [they] have had [their] rights properly restored” and

include a place for the applicant to check whether they “have not been convicted of a felony” or

they “have been convicted of a felony but have had [their] rights properly restored or [their] record

expunged.” (Id. ¶ 70). As of December 2020, persons with a grace period conviction or a pre-

January 15, 1973 conviction that did not render them infamous could not use the Voter Registration

Appeal Request Form to appeal their rejection. (Id. ¶¶ 71-72; Doc. No. 156-28; Doc. No. 157-8).

               Applications from Voters with Expungements and Judicial Diversions

        The State Form instructs an individual with only expunged felony convictions to mark “no”

in response to the felony question. (Doc. No. 181 ¶ 54). If a person with an expunged felony



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Case 3:20-cv-01039          Document 221         Filed 04/18/24   Page 15 of 51 PageID #: 3655
conviction marks “yes” to the felony question, the Election Division policy is to reject the

application and require the applicant to present documentation proving their felony was expunged.

(Id. ¶ 55). A conviction subject to judicial diversion “acts the same as expungement” for the

purposes of voting rights in that it does not result in the loss of the right to vote. (Id. ¶ 56). Voters

with only convictions subject to judicial diversion can mark “no” to the felony question on the

State Form, but the State Form does not provide this instruction. (Id. ¶¶ 56-57). If an applicant

with a conviction subject to judicial diversion marks “yes” to the felony question, Election

Division policy is to reject the application and require documentation. (Id. ¶ 58).

                             Tennessee’s Practices and Procedures
           for Verifying Non-Disenfranchising Felonies and Voting Rights Restoration

        Since at least 2014, the Election Division’s policy has been for county election

commissions to “check every application against their felon files” when the person marked they

had a felony conviction, and some counties check every application, regardless of whether the

applicant indicates they have a felony conviction. (Id. ¶ 59). “Felon files” include information

from various sources – the person, the courts, emails from U.S. Attorneys, the Tennessee

Department of Corrections (TDOC), the Election Division, the state felon list, other county

election officials, and their own clerks of court and jury coordinators – that the counties receive

for people notifying them of a felony conviction or a previous voter registration application that

the own person marked “Yes” under penalty of perjury to the felony question. (Id. ¶ 60).

        The Election Division also disseminates “felon reports” to counties every 1-3 months that

include the data on registrants’ state felony convictions from TDOC, federal convictions from the

U.S. attorneys, and out-of-state convictions from the Interstate Compact. (Id. ¶ 61). For each

applicant, felon reports would include all convictions for a person going back in time and include



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Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 16 of 51 PageID #: 3656
the date of judgment, conviction or sentence. (Id. ¶ 62). The information in felon reports can be

sufficient to verify whether an applicant has only grace-period convictions. (Id. ¶ 63).8

        County election officials, as part of their regular voter-roll maintenance duties, routinely

use information in felon files and felon reports to purge voters with felony convictions from the

voter rolls. (Id. ¶ 64). In Hamilton County, the list maintenance program automatically flags new

applicants who may match a record in databases listing individuals with felony convictions and

individuals previously purged due to a felony conviction. (Id. ¶ 65). Hamilton County election

officials must manually review these potential matches to determine whether the new registrant

does indeed have a felony conviction. (Id.).

        Upon receipt of a facially valid application indicating a felony conviction, county election

officials are capable of reaching out to other county election officials or the Election Division to

confirm the applicant’s eligibility, although Election Division policy does not currently instruct or

require them to do so. (Id. ¶ 66). County election officials are capable of searching or requesting

public records or contacting courts and other relevant agencies to verify eligibility of voters with

grace-period or non-infamous pre-1973 convictions, though there is “no definitive set-on practice”

of doing so under Election Division policy. (Id. ¶ 67). The Election Division itself is also capable

of verifying grace-period convictions without requiring documentation from the applicant by

searching or requesting public records or contacting courts and other relevant agencies. (Id. ¶ 68).


8
         Secretary Hargett and Coordinator Goins dispute this fact based on testimony noting that the felon
reports are created from data from the TDOC. (See Doc. No. 181 at PageID# 2920). As it is already
undisputed that the felon reports include data on registrants’ state felony convictions from TDOC, (Doc.
No. 181 ¶ 61), this does not create a genuine dispute of fact. Secretary Hargett and Coordinator Goins also
appear to dispute this fact based on their contention that “because a county ‘could’ have information from
other sources does not mean that the information will always be sufficient for verification.” (Doc. No. 181
at PageID# 2920). As the statement of fact at issue does not suggest that the information will always be
sufficient for verification, Secretary Hargett and Coordinator Goins have failed to create a genuine dispute
of fact as to whether the information in the felon reports can be sufficient to verify whether an applicant
has only grace-period convictions.

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Case 3:20-cv-01039          Document 221         Filed 04/18/24        Page 17 of 51 PageID #: 3657
G. Plaintiff TN NAACP

        Plaintiff TN NAACP is a nonpartisan, multi-racial, non-profit membership organization

headquartered in Jackson, Tennessee. (Doc. No. 181 ¶ 5). TN NAACP was founded in 1946 to

serve as the Tennessee arm of the NAACP. (Id. ¶ 6). Its mission is to eliminate race-based

discrimination through securing political, educational, social, and economic equality rights and

ensuring the health and well-being of all persons. (Id.). TN NAACP has three regional divisions—

Eastern, Middle, and Western Tennessee—as well as 33 local branch units and 22 college chapters

and youth councils. (Id. ¶ 7). TN NAACP and most of its local branch units are primarily volunteer-

run, and all officers are volunteers. (Id.).

        TN NAACP has more than 10,000 members across the state, more than 90% of whom are

Black or brown. (Id. ¶ 8). Black people make up 16% of the state’s total voting-age population,

but account for more than 21% of individuals who are disenfranchised by a felony conviction in

Tennessee. (Id.). Promoting voter registration and turnout are the primary activities through which

the TN NAACP furthers its mission. (Id. ¶ 9). The organization expends resources helping

individuals, including those with past felony convictions, register to vote. (Id.).9 Its staff and

volunteers conduct public education workshops to help its constituents and other members of the

community navigate the voter registration process. (Id.).

        Volunteer time is the primary resource the TN NAACP uses in support of its mission. (Id.

¶ 10). The state conference and local branches also have limited monetary resources to put toward

mission-furthering activities. (Id.). The TN NAACP prefers to use the online voter registration

form when assisting individuals with voter registration at events or otherwise because it is a more


9
       Secretary Hargett and Coordinator Goins do not dispute, for summary judgment purposes, that TN
NAACP expends resources helping individuals register to vote. (Doc. No. 181 ¶ 9, PageID# 2897; Doc.
No. 183 ¶¶ 5-6).

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Case 3:20-cv-01039         Document 221        Filed 04/18/24     Page 18 of 51 PageID #: 3658
efficient means of registration, but individuals who have been convicted of felonies cannot use the

online form, regardless of their eligibility to vote. (Id. ¶ 11).

        The TN NAACP’s typical assistance is rendered ineffective when the online registration

portal excludes individuals with felony convictions from submitting a registration application and

when election officials reject individuals with felony convictions who submit valid voter

registration forms. (Id. ¶¶ 12, 13).10 The TN NAACP is aware, for example, of individuals who

were convicted of felonies during the “grace period” between January 15, 1973, and May 17, 1981,

but are nonetheless unable to register using the state voter registration form or the online

registration form, despite never having lost the right to vote. (Id. ¶ 12).

        When an eligible voter is incorrectly denied the ability to register to vote, the TN NAACP

must divert resources from the other activities related to its mission by following up with the

eligible voter and communicating with various governmental authorities (including, but not limited

to, clerks of the court and probation officers) to rectify the situation. (Id. ¶ 13). In conjunction with

these efforts, the TN NAACP has accompanied persons and taxied them to and from various

governmental offices to troubleshoot the issue and correct the erroneous rejection. (Id.). This

correction process may involve seeking old court records that are not easily accessible to the TN

NAACP. These efforts are sometimes insufficient to remedy the erroneous rejection. (Id.). The TN

NAACP would like to be able to dedicate greater resources to its voter turnout activities, rather



10
         Secretary Hargett and Coordinator Goins provided a non-responsive answer to these statement of
undisputed material facts. (Doc. No. 181 at PageID# 2899). Specifically, Secretary Hargett and Coordinator
Goins dispute whether any citizen was erroneously denied the right to vote in response to TN NAACP’s
statement concerning eligible voters being incorrectly denied the ability to register to vote. (See id.).
Accordingly, the Court considers these facts undisputed for purposes of summary judgment. Fed. R. Civ. P.
56(e)(2). Although, the Tennessee Election Officials attempt to dispute the fact that TN NAACP’s assistance
to eligible persons registering to vote is rendered ineffective when the State rejects those persons’
registration forms, they fail to cite to any evidence in support of their dispute, as required under the
applicable rules.

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Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 19 of 51 PageID #: 3659
than just voter registration. (Id. ¶ 14). This would include providing stipends to volunteers to

canvass or phonebank to encourage members and constituents to turn out on Election Day. The

TN NAACP also provides transportation to the polls. (Id.).

        When a person TN NAACP helps register to vote is rejected despite being eligible to

register, the extra time and money spent assisting voters that the state has erroneously rejected

depletes resources that could be spent on other mission-furthering activities. (Id. ¶ 15).11 TN

NAACP’s political power and ability to carry out its mission are directly diminished by the

inability of its members and constituents to register to vote. (Id.).

H. First Notice to Tennessee Election Officials of Noncompliance with NVRA

        On August 22, 2018, TN NAACP sent Secretary Hargett and Coordinator Goins a letter

(“First Notice Letter”), informing them that Tennessee’s State Form and state specific instructions

on the Federal Form, failed to accurately advise people with felony convictions of the eligibility

requirements for voting in Tennessee, in violation of Sections 20507(a)(5) and 20508(b)(2)(A).

(Doc. No. 181 ¶ 78; Doc. No. 156-15). TN NAACP further notified the Tennessee Election

Officials that the State Form “plainly misinforms voters of the eligibility requirements by stating




11
         Secretary Hargett and Coordinator Goins provided a non-responsive answer to paragraph fifteen of
TN NAACP’s statement of undisputed material facts, including their citation to over 75 pages across four
sets of documents without pin cites, which is not particularly helpful to the Court. (Doc. No. 181 at PageID#
2900). Even viewing the facts in the light most favorable to the Tennessee Election Officials and drawing
all reasonable inferences in their favor, none of the cited documents appear to contradict the fact specifically
averred by TN NAACP in this statement of fact. Accordingly, the Court considers this fact undisputed for
purposes of summary judgment. Fed. R. Civ. P. 56(e)(2); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
250 (1986) (Rule 56(e) provides that, when a properly supported motion for summary judgment is made,
the adverse party “must set forth specific facts showing that there is a genuine issue for trial.”); see e.g.,
Lujan, 497 U.S. at 888 (“In ruling upon a Rule 56 motion, a District Court must resolve any factual issues
of controversy in favor of the non-moving party only in the sense that, where the facts specifically averred
by that party contradict facts specifically averred by the movant, the motion must be denied.”) (internal
quotations omitted).

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Case 3:20-cv-01039           Document 221          Filed 04/18/24        Page 20 of 51 PageID #: 3660
that no individual with a felony conviction may register to vote unless she has undergone the

restoration of rights process.” (Doc. No. 156-15 at PageID # 2517).

       That year, 2018, Coordinator Goins, his staff, and legal counsel, “began discussions” with

TN NAACP’s counsel about the State Form. (Doc. No. 180-1 ¶ 7 at PageID # 2891). The Election

Division placed those discussions on hold during the 2019 legislative session, summer, and early

fall. (Doc. No. 193 ¶¶ 7). In December 2019, Coordinator Goins agreed to make unspecified

changes to the State Form and requested that the Election Assistance Commission make

unspecified changes to the Tennessee instructions the Federal Form. (Doc. No. 180-1 ¶ 7 at PageID

# 2891). In March 2020, Coordinator Goins discontinued discussions about the State Form. (Doc.

No. 180-1 ¶¶ 8-9).

I. TN NAACP files present suit

       On December 3, 2020, TN NAACP filed its original Complaint. (Doc. No. 181 ¶ 79). On

December 30, 2020, Secretary Hargett, Coordinator Goins, and their co-defendants, moved to

dismiss this case in its entirety for lack of standing and failure to state a claim. (Doc. No. 24).

J. Second Notice to Tennessee Election Officials of Noncompliance with NVRA

       On January 27, 2021, TN NAACP sent a second notice letter to Secretary Hargett and

Coordinator Goins explaining that the state’s registration policies and procedures for applicants

with prior felony convictions remained non-compliant with the NVRA, specifically Sections

20507(a)(1), (5), (b)(1), 20508(b)(2)(A),(3), 20510(b)(2). (Doc. No. 181 ¶ 81; Doc. No. 156-16).

It further notified Secretary Hargett and Coordinator Goins that placing the burden of proving

eligibility onto the eligible prospective voter with a prior felony conviction—and requiring them

to fight erroneous rejections with additional paperwork not required of other eligible applicants

without a prior felony conviction—created a non-uniform registration process in violation of the

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Case 3:20-cv-01039        Document 221         Filed 04/18/24       Page 21 of 51 PageID #: 3661
NVRA. (Id.). In addition to placing an unlawful burden on potential voters, TN NAACP explained

to Coordinator Goins that the additional paperwork requirement is unnecessary in light of the Help

America Vote Act’s requirement that every state maintain databases and information flow

sufficient to allow registrars to verify eligibility without it. (Doc. No. 156-16 at PageID # 2554).

       Three months later, on April 27, 2021, Coordinator Goins responded by letter outlining the

Election Division’s planned revisions to the State Form and “its policy and guidance to the counties

for processing voter registration applications from individuals with felony convictions.” (Doc. No.

156-36 at PageID # 2699).

K. Third Notice to Tennessee Election Officials of Noncompliance with NVRA

       On May 24, 2021, TN NAACP’s counsel sent a final notice letter (“Third Notice Letter”)

to Coordinator Goins reiterating that the continued requirement of additional paperwork for certain

eligible applicants was improper under the NVRA. (Id. ¶ 82; Doc. No. 156-18). Additionally, the

Third Notice Letter put Coordinator Goins on notice that his proposed policies in his April 27,

2021 letter regarding registrants with pre-1973 convictions failed to comply with Tennessee law

and the NVRA. (Id.).

L. Litigation Continues

       On March 30, 2022, this Court granted in part and denied in part Defendants’ Motion to

Dismiss alleging, among other things, deficient notice under the NVRA. See Tennessee Conf. of

the Nat'l Ass'n for the Advancement of Colored People v. Lee, No. 3:20-CV-01039, 2022 WL

982667 (M.D. Tenn. Mar. 30, 2022). The Court dismissed Count 5 of the original complaint

without prejudice and denied Defendants’ Motion to Dismiss on all other counts. (Doc. No. 83 at




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Case 3:20-cv-01039        Document 221        Filed 04/18/24      Page 22 of 51 PageID #: 3662
15-16, 18). On October 3, 2022, TN NAACP filed its First Amended Complaint. (Doc. No. 181 ¶

83). On May 28, 2023, fact discovery closed. (Doc. No. 128).

        On July 21, 2023, less than two months after the conclusion of fact discovery in this matter

and less than two weeks before the extended deadline for filing dispositive motions, Coordinator

Goins “established new policies and procedures for [county election] officials with respect to the

registration of individuals …. convicted of a felony prior to January 15, 1973, and … convicted of

a felony between January 15, 1973, and May 17, 1981.” (Supplemental Declaration of Coordinator

Goins, Doc. No. 180-1 ¶¶ 3, 4; Doc. No. 181 ¶¶ 73, 74; Doc. No. 151-2 (stating the new policies

were “to avoid rejecting” voter registration applications from individuals “who did not lose their

voting rights[.]”).

        On September 19, 2023, Coordinator Goins declared under penalty of perjury that he

established these new policies for processing voter registration forms “in response to ongoing

discussions and deliberation with [his] staff and with legal counsel” and “pursuant to [his] statutory

duties” set forth in Tennessee Code Annotated Section 2-11-202. (Supplemental Declaration of

Coordinator Goins, Doc. No. 180-1 ¶¶ 4, 2). Coordinator Goins’ new policy instructs county

administrators of elections to process voter registration forms from individuals with grace period

convictions and from individuals who indicate that their felony convictions were prior to January

15, 1973, if the applicant indicates they were convicted of a felony that is not on the list of

potentially infamous crimes. (Doc. No. 181 ¶¶ 77, 75; Doc. No. 151-2 at PageID # 1095-96). For

State Forms on which an individual indicates they were convicted of one of the above felonies and

declared infamous, Coordinator Goins’ new policy instructs county administrators of elections to




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Case 3:20-cv-01039        Document 221         Filed 04/18/24      Page 23 of 51 PageID #: 3663
reject those voter registration forms unless the applicant has had their rights restored. (Doc. No.

181 ¶ 76; Doc. No. 151-2 at PageID # 1096).12

       On August 2, 2023, the Tennessee Election Officials and TN NAACP filed cross motions

for summary judgment as to Counts Four and Six. Secretary Hargett and Coordinator Goins also

seek summary judgment as to Count Five.


                              III.   STANDARD OF REVIEW

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). The party bringing the summary judgment motion has the initial burden of informing the

Court of the basis for its motion and identifying portions of the record that demonstrate the absence

of a genuine dispute over material facts. Rodgers v. Banks, 344 F.3d 587, 595 (6th Cir. 2003). The

moving party may satisfy this burden by presenting affirmative evidence that negates an element

of the non-moving party's claim or by demonstrating an absence of evidence to support the

nonmoving party's case. Id.

       In evaluating a motion for summary judgment, the court views the facts in the light most

favorable for the nonmoving party, and draws all reasonable inferences in favor of the nonmoving

party. Bible Believers v. Wayne Cty., Mich., 805 F.3d 228, 242 (6th Cir. 2015); Wexler v. White’s

Fine Furniture, Inc., 317 F.3d 564, 570 (6th Cir. 2003). The Court does not weigh the evidence,

judge the credibility of witnesses, or determine the truth of the matter. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249 (1986). Rather, the Court determines whether sufficient evidence has been

presented to make the issue of material fact a proper jury question. Id. The mere scintilla of


12
        Coordinator Goins’ new policy does not address how an individual convicted of one of the
potentially infamous crimes would indicate on their registration whether they were declared infamous.
(Doc. No. 181 ¶ 76; Doc. No. 151-2).

                                                 24

Case 3:20-cv-01039        Document 221        Filed 04/18/24      Page 24 of 51 PageID #: 3664
evidence in support of the nonmoving party’s position is insufficient to survive summary

judgment; instead, there must be evidence of which the jury could reasonably find for the

nonmoving party. Rodgers v. Banks, 344 F.3d 587, 595 (6th Cir. 2003). The standards for

summary judgment do not change when, as here, the parties file cross-motions for summary

judgment. See Reform Am. v. City of Detroit, Michigan, 37 F.4th 1138, 1147 (6th Cir. 2022).


                                   IV.     LAW AND ANALYSIS

        Before turning to the merits, the Court must “determine as a threshold matter that [it] ha[s]

jurisdiction.” Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 178 (1988).


A. Subject Matter Jurisdiction

        Federal courts only have jurisdiction to consider live cases and controversies. “Although

the case-or-controversy requirement of Article III, § 2 of the Constitution ‘underpins both our

standing and our mootness jurisprudence,’ Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.

(TOC), Inc., 528 U.S. 167, 180 (2000), standing and mootness inquiries diverge in several

important respects, one of which is timing.” Sullivan v. Benningfield, 920 F.3d 401, 407 (6th Cir.

2019).13 Whether a plaintiff has standing to sue is determined as of the time the complaint is filed.

See Barber v. Charter Twp. of Springfield, Michigan, 31 F.4th 382, 390 (6th Cir. 2022) (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 569 n.4 (1992) (“When assessing standing, courts

look only to ‘the facts existing when the complaint is filed.’”)). “If a plaintiff overcomes the

standing hurdle at the time of filing, the doctrine of mootness then ‘requires that there be a live

case or controversy at the time that a federal court decides the case.’” Sullivan, 920 F.3d at 407



13
         Standing and mootness also diverge with respect to who shoulders the burden; the burden to
establish jurisdiction rests on party invoking jurisdiction, while burden to defeat jurisdiction with mootness
objection rests on party asserting mootness. See Kentucky v. Yellen, 54 F.4th 325, 340 (6th Cir. 2022).

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Case 3:20-cv-01039          Document 221          Filed 04/18/24        Page 25 of 51 PageID #: 3665
(quoting Burke v. Barnes, 479 U.S. 361, 363 (1987)); see, e.g., W. Virginia v. Env't Prot. Agency,

597 U.S. 697, 719 (2022) (“It is the doctrine of mootness, not standing, that addresses whether ‘an

intervening circumstance [has] deprive[d] the plaintiff of a personal stake in the outcome of the

lawsuit.’”) (quoting Genesis HealthCare Corp. v. Symczyk, 569 U.S. 66, 72 (2013)); Fox v.

Saginaw Cnty., Michigan, 67 F.4th 284, 294–95 (6th Cir. 2023) (“… if a plaintiff possesses

standing from the start, later factual changes cannot deprive the plaintiff of standing. Those

changes instead will create “mootness” issues[.]”) (internal citations omitted).14 The Court

addresses the standing and mootness doctrines in turn.


     1. Article III Standing

        The Court begins with standing, which “is a threshold issue for bringing a claim in federal

court and must be present at the time the complaint is filed.” Inner City Contracting, LLC v.

Charter Twp. of Northville, Michigan, 87 F.4th 743, 750 (6th Cir. 2023). To have Article III

standing, a plaintiff must have suffered “(1) an injury in fact (2) that's traceable to the defendant's

conduct and (3) that the courts can redress.” Gerber v. Herskovitz, 14 F.4th 500, 505 (6th Cir.

2021) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 559-61 (1992)). “To obtain declaratory

or injunctive relief, a [plaintiff] must show a present ongoing harm or imminent future harm.”

Shelby Advocs. for Valid Elections v. Hargett, 947 F.3d 977, 981 (6th Cir. 2020). As the party

invoking federal jurisdiction, TN NAACP bears the burden of demonstrating that it has standing.

See Lujan, 504 U.S. at 561. And it “must demonstrate standing separately for each form of relief

sought.” Friends of the Earth, 528 U.S. at 185; Summers v. Earth Island Inst., 555 U.S. 488, 493

(2009). “While the proof required to establish standing increases as the suit proceeds, the standing



14
         The foregoing authority dispenses with Secretary Hargett and Coordinator Goins’ argument that
the policy changes in July 2023 deprive TN NAACP of standing. (Doc. No. 190 at PageID # 3195-97).

                                                  26

Case 3:20-cv-01039        Document 221         Filed 04/18/24       Page 26 of 51 PageID #: 3666
inquiry remains focused on whether the party invoking jurisdiction had the requisite stake in the

outcome when the suit was filed.” Davis v. Fed. Election Comm'n, 554 U.S. 724, 734 (2008)

(internal citations omitted). “This means that, ‘in response to a summary judgment motion,’ a

plaintiff cannot rely on ‘mere allegations’ with respect to each standing element, ‘but must set forth

by affidavit or other evidence specific facts, which for purposes of the summary judgment motion

will be taken to be true.’” McKay v. Federspiel, 823 F.3d 862, 867 (6th Cir. 2016) (quoting Lujan,

504 U.S. at 561).

       TN NAACP readily satisfies the second and third prong of the standing inquiry. “As to

traceability, a defendant's actions must have a ‘causal connection’ to the plaintiff's injury.” Gerber

v. Herskovitz, 14 F.4th 500, 505 (6th Cir. 2021) (quoting Lujan, 504 U.S. at 560). Here, it is

undisputed that Secretary Hargett and Coordinator Goins are responsible for coordinating

implementation of the NVRA and for the Election Division’s policies and procedures for

processing voter registration applications. (Doc. No. 181 ¶¶ 16-17). This shows the requisite causal

link. “As to redressability, it must be ‘likely, as opposed to merely speculative, that the injury will

be redressed by a favorable decision.’” Gerber, 14 F.4th at 505 (quoting Lujan, 504 U.S. at 561).

Here, TN NAACP’s injury will redressed if the Court grants TN NAACP’s requested injunctive

relief. Indeed, the NVRA establishes a private cause of action and authorizes judicial intervention

for the purpose of providing redress for those aggrieved by a violation of the Act. 52 U.S.C. §

20510(b).

       TN NAACP also satisfies its burden as to the first prong of the standing inquiry: injury in

fact. In the present case, TN NAACP claims organizational injuries to sue on its own behalf.

Perceptible impairment to “the organization’s activities” or a “drain on the organization’s

resources” qualify as concrete and demonstrable injuries for Article III standing purposes. See



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Case 3:20-cv-01039        Document 221         Filed 04/18/24       Page 27 of 51 PageID #: 3667
Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982). TN NAACP’s mission is “advocate

for the rights of individuals who have been discriminated against.” (Doc. No. 151-4 at PageID

#1324, 1334; Doc. No. 156-2 ¶¶ 3-6).15 Its focus is voting rights, and its primary activity in

furtherance of that goal is helping individuals register and turnout to vote. (Doc. No. 156-2 ¶¶ 7-

8; Doc. No. 151-4 at PageID #1324-25, 1327-28). As part of its mission-furthering registration

work, the TN NAACP provides voter registration assistance to individuals with felony convictions,

all of whom must apply to register to vote using the challenged forms and are subject to the

challenged policies. (Doc. No. 156-2 ¶¶ 8, 11; Doc. No. 181 ¶¶ 37-42).16 In a declaration, the TN

NAACP states that the challenged forms and policies make it more time-consuming and costly for

TN NAACP’s volunteers to provide registration assistance to individuals with felony convictions,

which causes the organization’s scarce volunteer time and money to be diverted away from its

other mission furthering activities. (Doc. No. 156-2 ¶¶ 8-10, 13-18).

        This drain on its resources is sufficient to prove injury in fact to the organization itself at

summary judgment. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982); see, e.g.,

Online Merchants Guild v. Cameron, 995 F.3d 540, 548 (6th Cir. 2021) (affirming “that within-

mission organizational expenditures are enough to establish direct organizational standing.”).

Secretary Hargett and Coordinator Goins’ argument that TN NAACP cannot establish standing


15
         Secretary Hargett and Coordinator Goins argue Sweet-Love’s declaration is deficient under Federal
Rule of Civil Procedure 56(c)(4) because she does not explain how she has personal knowledge of the
information she provides concerning her statement that “the TN NAACP has accompanied persons and
taxied them to and from government offices to troubleshoot the issue and correct the rejection.” (Doc. No.
190 at PageID # 3197 (quoting Sweet-Love Decl, Doc. No. 156-2 ¶ 14)). This argument fails because, as
President of TN NAACP, Sweet-Love is charged with knowledge of its activities. See Miami Valley Fair
Hous. Ctr., Inc. v. Connor Grp., 805 F. Supp. 2d 396, 406 (S.D. Ohio 2011) (citing AGI Realty Serv. Grp.,
Inc. v. Red Robin Intern., Inc., No. 94-3911, 81 F.3d 160, 1996 WL 143465, at *4 (6th Cir. Mar. 28, 1996)
(“Corporate officers are considered to have personal knowledge of the acts of their corporations and an
affidavit setting forth those facts is sufficient for summary judgment.”)); see also Fambrough v. Wal-Mart,
611 Fed. Appx. 322, 330 (6th Cir. 2015) (citing AGI Realty Serv., 1996 WL 143465, at *4).
16
     The Court has already overruled the Tennessee Election Officials’ objections to these facts. See supra.

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Case 3:20-cv-01039         Document 221          Filed 04/18/24        Page 28 of 51 PageID #: 3668
because it cannot show immediate threat of harm fails to recognize that TN NAACP presents

evidence of ongoing harm. Because TN NAACP has shown a present ongoing harm, it does not

need to also show imminent future harm to obtain declaratory or injunctive relief. See Shelby

Advocs. for Valid Elections v. Hargett, 947 F.3d 977, 981 (6th Cir. 2020).


    2. Mootness

        Secretary Hargett and Coordinator Goins argue the part of Count Six challenging the

State’s blanket policy rejecting all voter-registration applications that indicated the applicant has a

felony conviction is partially moot because on July 21, 2023, Coordinator Goins issued a

memorandum outlining a new policy for processing voter registration applications from

individuals with grace period convictions and non-infamous felonies predating January 15, 1973.

(Doc. No. 180 at PageID 2869-73; Doc. No. 181 ¶¶ 73, 77; Doc. No. 157-7; Doc. No. 151-2; Doc.

No. 151 at PageID # 1083-84).

        Mootness addresses whether an intervening circumstance has deprived the plaintiff of a

personal stake in the outcome of the lawsuit, so that the case-or-controversy requirement, in Article

III, for federal jurisdiction is not satisfied. Moore v. Harper, 600 U.S. 1, 14 (2023); Kentucky v.

Yellen, 54 F.4th 325, 340 (6th Cir. 2022) (“Whether an ‘intervening circumstance’ arising after a

suit has been filed causes a plaintiff's asserted injury to dissipate is really a question of mootness.”).

The standard “for determining whether a case has been mooted by the defendant's voluntary

conduct is stringent: ‘A case might become moot if subsequent events made it absolutely clear that

the allegedly wrongful behavior could not reasonably be expected to recur.’” Friends of the Earth,

Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (citation omitted); Fed. Bureau

of Investigation v. Fikre, 144 S. Ct. 771 (2024) (same). The “heavy burden” of persuading the

court that the challenged conduct cannot reasonably be expected to resume lies with the party

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Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 29 of 51 PageID #: 3669
asserting mootness. See id. However, because it is the government that has voluntarily ceased its

allegedly illegal conduct, the burden of showing of mootness is lower. See Doe v. Univ. of

Michigan, 78 F.4th 929, 946 (6th Cir. 2023) (citing Speech First, Inc. v. Schlissel, 939 F.3d 756,

767 (6th Cir. 2019)).

       When considering whether challenged conduct can reasonably be expected to reoccur in

evaluating defendant's assertion that case is moot, court takes into account totality of circumstances

surrounding voluntary cessation. Univ. of Michigan, 78 F.4th at 946 (6th Cir. 2023) (citing Speech

First, 939 F.3d at 767–68). Although courts treat cessation of the allegedly illegal conduct by

government officials with more solicitude than similar action by private parties, not all government

action “enjoys the same degree of solicitude[.]” Id. Accordingly, courts consider “the manner in

which the cessation was executed” as part of the totality-of-the-circumstances analysis. Id.

       Government action in the form of the passage of new legislation or the repeal of challenged

legislation enjoys the most solicitude; this type of government action “presumptively moot[s] the

case unless there are clear contraindications that the change is not genuine.” Id. When regulatory

changes are implemented with “legislative-like procedures” or “formal processes,” the government

“need not do much more than simply represent that it would not return to the challenged policies.”

Id. On the other hand, when government action brings about change that is “ad hoc, discretionary,

and easily reversible” or requires little in the way of formal process, “significantly more than the

bare solicitude itself is necessary to show that the voluntary cessation moots the claim.” Id.

       Additionally, courts should give the government “the same amount of solicitude when it

makes a change to comply with binding precedent (even if it has done so in an ad hoc manner) as

the courts give the government when it makes a change with legislative-like procedures[.]” Univ.

of Michigan, 78 F.4th at 947–48 (citing Thompson v. Whitmer, No. 21-2602, 2022 WL 168395, at

                                                 30

Case 3:20-cv-01039        Document 221         Filed 04/18/24      Page 30 of 51 PageID #: 3670
*4 (6th Cir. Jan. 19, 2022) (litigation was moot when state supreme court declared challenged

actions illegal and therefore, for the behavior to recur, the government would have to disregard the

Michigan Supreme Court's interpretation of state law, which a court would not reasonably expect);

Midwest Inst. of Health, PLLC v. Whitmer, Nos. 20-1611/1650, 2022 WL 304954, at *2 (6th Cir.

Feb. 2, 2022) (same); League of Indep. Fitness Facilities & Trainers, Inc. v. Whitmer, 843 F. App'x

707, 709–10 (6th Cir. 2021) (same)). Accordingly, “[w]hen the government has made a regulatory

change in order to comply with binding precedent, the government need only represent that it does

not intend to return to the previous policy.” Univ. of Michigan, 78 F.4th at 948).

       Here, Secretary Hargett and Coordinator Goins approved the new policy. (See Doc. No.

180-1 ¶ 4). Secretary Hargett and Coordinator Goins do not direct the court to any evidence

suggesting that the Election Division would have to go through some formal process to change the

policy again. See Speech First, 939 F.3d at 769. Nor have Secretary Hargett and Coordinator Goins

produced evidence showing that the change in the Election Division’s policy for processing voter

registration applications from individuals with pre-1981 felony convictions was legislative,

involved a legislative-like process, or that it was made in order to comply with binding precedent.

Instead, Coordinator Goins declared under penalty of perjury that this policy change was “in

response to ongoing discussions and deliberation with [his] staff and with legal counsel.” (Doc.

No. 180-1 ¶ 4). Therefore, “solicitude toward the government's cessation alone is insufficient to

establish that the case is moot.” Univ. of Michigan, 78 F.4th at 947.

       The timing of Election Division’s policy change also raises suspicions that its cessation is

not genuine. Here, Secretary Hargett and Coordinator Goins changed the Election Division’s

relevant policy well after the complaint and first amended complaint were filed. “If anything, this

increases the [government]'s burden to prove that its change is genuine.” Speech First, 939 F.3d at

                                                 31

Case 3:20-cv-01039        Document 221        Filed 04/18/24      Page 31 of 51 PageID #: 3671
769. Moreover, Coordinator Goins “has not affirmatively stated” that he does not intend to revert

back to the challenged policies. See id. Instead, Coordinator Goins points to his declaration that

“absent a change in the applicable law or a court order, I have no intention of changing course.”

(Doc. No. 180-1 ¶ 10). However, “[courts] do not assume that words mean more than what they

say.” See Speech First, 939 F.3d at 769 (rejecting statement about what policy the government

intended to use “presently” as “not a meaningful guarantee” that a new policy will remain the

same). Finally, Secretary Hargett and Coordinator Goins’ continued defense of the

constitutionality of the challenged conduct informs the inquiry regarding whether the government's

voluntary cessation of the conduct moots Count Six. See id. at 770 (citing Parents Involved in

Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007)). Here, Secretary Hargett and

Coordinator Goins maintain that the challenged policies were lawful. (See Doc. No. 180 at 13 n.1

(“To be clear, Defendants in no way are conceding that the policies in place before July 21, 2023,

were illegal.”)).

        In sum, considering the totality of the circumstances, Secretary Hargett and Coordinator

Goins have not met their burden of showing that the Election Division’s voluntary cessation make

it “absolutely clear that the allegedly wrongful behavior could not reasonably be expected to

recur.” Friends of the Earth, 528 U.S. at 189. Therefore, TN NAACP’s claims in Count Six will

not be dismissed as moot. Nor will the Tennessee Election Officials’ motion for summary judgment

be granted as to Counts Five and Six on the basis that the State’s challenged policy no longer

exists. (See Tennessee Election Officials’ memorandum supporting their motion for judgment,

Doc. No. 151 at PageID # 1085, 1083). Because this was the sole basis for the Tennessee Election

Officials’ motion for summary judgment as to Count Five, (see id. at PageID # 1085), their motion

will be denied as to that Count.


                                               32

Case 3:20-cv-01039        Document 221       Filed 04/18/24     Page 32 of 51 PageID #: 3672
B. Merits

       As noted above, in Counts Four and Six of the First Amended Complaint, TN NAACP

seeks injunctive relieve under the NVRA from Tennessee’s challenged voter application

registration forms and policies for processing the same. Counts Four and Six counts concern the

following sections of the NVRA:

       Section 20505 provides:

          (a) Form

               (1) Each State shall accept and use the mail voter registration
                   application form prescribed by the Federal Election Commission
                   pursuant to section 20508(a)(2) of this title for the registration
                   of voters in elections for Federal office.

               (2) In addition to accepting and using the form described in
                   paragraph (1), a State may develop and use a mail voter
                   registration form that meets all of the criteria stated in section
                   20508(b) of this title for the registration of voters in elections for
                   Federal office.

               (3) A form described in paragraph (1) or (2) shall be accepted and
                   used for notification of a registrant's change of address.

52 U.S.C.A. § 20505(a).

       Section 20507(a)(1), (5) provides:

            (a) In general

            In the administration of voter registration for elections for Federal
            office, each State shall—

              (1) ensure that any eligible applicant is registered to vote in an
                  election —

                  (A) in the case of registration with a motor vehicle application
                      under section 20504 of this title, if the valid voter
                      registration form of the applicant is submitted to the
                      appropriate State motor vehicle authority not later than the
                      lesser of 30 days, or the period provided by State law, before
                      the date of the election;

                                                  33

Case 3:20-cv-01039        Document 221          Filed 04/18/24       Page 33 of 51 PageID #: 3673
                  (B) in the case of registration by mail under section 20505 of this
                      title, if the valid voter registration form of the applicant is
                      postmarked not later than the lesser of 30 days, or the period
                      provided by State law, before the date of the election;

                  (C) in the case of registration at a voter registration agency, if
                      the valid voter registration form of the applicant is accepted
                      at the voter registration agency not later than the lesser of 30
                      days, or the period provided by State law, before the date of
                      the election; and

                  (D) in any other case, if the valid voter registration form of the
                      applicant is received by the appropriate State election
                      official not later than the lesser of 30 days, or the period
                      provided by State law, before the date of the election;

                                              ***

             (5) inform applicants under sections 20504, 20505, and 20506 of this
                 title of –

                 (A) voter eligibility requirements; and

                 (B) penalties provided by law for submission of a false voter
                     registration applications

52 U.S.C.A. § 20507(a)(1), (5).

       Section 20507(b)(1) provides:

       (b) Confirmation of voter registration

       Any State program or activity to protect the integrity of the electoral process by
       ensuring the maintenance of an accurate and current voter registration roll for
       elections for Federal office—

              (1) shall be uniform, nondiscriminatory, and in compliance with the
                  Voting Rights Act of 1965

52 U.S.C.A. § 20507(b)(1).

       Section 20508(a) specifies the role of the Election Assistance Commission:

       (a) In general

       The Election Assistance Commission –

                                                 34

Case 3:20-cv-01039       Document 221         Filed 04/18/24      Page 34 of 51 PageID #: 3674
             (1) in consultation with the chief election officers of the States, shall
                 prescribe such regulations as are necessary to carry out
                 paragraphs (2) and (3);

             (2) in consultation with the chief election officers of the States, shall
                 develop a mail voter registration application form for elections
                 for Federal office;

             (3) not later than June 30 of each odd-numbered year, shall submit
                 to the Congress a report assessing the impact of this chapter on
                 the administration of elections for Federal office during the
                 preceding 2-year period and including recommendations for
                 improvements in Federal and State procedures, forms, and other
                 matters affected by this chapter; and

             (4) shall provide information to the States with respect to the
                 responsibilities of the States under this chapter.

52 U.S.C.A. § 20508(a)

      Section 20508(b) specifies the content of mail voter registration forms:

      (b) Contents of mail voter registration form

      The mail voter registration form developed under subsection (a)(2) –

            (1) May require only such identifying information (including the
                signature of the applicant) and other information (including data
                relating to previous registration by the applicant), as is necessary
                to enable the appropriate State election official to assess the
                eligibility of the applicant and to administer voter registration and
                other parts of the election process;

             (2) Shall include a statement that –

                 a. Specifies each eligibility requirement (including citizenship);

                 b. Contains an attestation that the applicant meets each such
                    requirement; and

                 c. Requires the signature of the applicant, under penalty of perjury;

             (3) May not include any requirement for notarization or other
                 formal authentication; and

             (4) Shall include, in print that is identical to that used in the
                 attestation portion of the application –


                                                35

Case 3:20-cv-01039       Document 221        Filed 04/18/24       Page 35 of 51 PageID #: 3675
                    i. The information required in section 20507(a)(5)(A) and (B)
                       of this title;

                    ii. A statement that, if an applicant declines to register to vote,
                        the fact that the applicant has declined to register will remain
                        confidential and will be used only for voter registration
                        purposes; and

                    iii. A statement that if an applicant does register to vote, the
                         office at which the applicant submits a voter registration
                         application will remain confidential and will be used only
                         for voter registration purposes.

52 U.S.C. § 20508(b).

        1. Count Four

        At issue in Count Four is whether Tennessee’s State Forms comply with the NVRA’s

requirements to “inform … applicants of voter eligibility requirements” and to “specif[y] each

eligibility requirement” on the form. 52 U.S.C. §§ 20505(a)(2), 20508(b)(2). TN NAACP argues

the State Forms, (Doc. Nos. 156-12, 156-10), do not meet these requirements because they do not

provide enough information to convey to eligible applicants with non-disenfranchising pre-1973

or grace-period felony convictions that their felonies do not impact their right to vote. The

Tennessee Election Officials contend the State Forms “adequately notify applications about state

voting eligibility requirements.” The parties agree that Tennessee’s State Forms do not inform all

eligible applicants of whether they are in fact eligible to register to vote. They disagree as to

whether the NVRA requires State Forms to include information such that all eligible applicants –

even eligible applicants with felony convictions – can discern from the State Form itself whether

they are eligible to register to vote.

        TN NAACP, Secretary Hargett, and Coordinator Goins agree that there are no genuine

disputes as to any material fact with regard to Count Four. As such, the parties agree that the

following felony convictions have never disqualified a person from being eligible to vote in

                                                  36

Case 3:20-cv-01039         Document 221         Filed 04/18/24      Page 36 of 51 PageID #: 3676
Tennessee: (1) a felony conviction before January 15, 1973, that does not include a statement in

the judgment rendering the crime “infamous;” (2) a felony conviction between January 15, 1973,

and May 17, 1981; (3) a felony conviction that has been expunged; and (4) a felony conviction

that is subject to judicial diversion. (Doc. No. 181 ¶¶ 2-3, 56). The parties further agree that an

otherwise qualified person with a disenfranchising felony conviction who has received a pardon

or has their voting rights restored, is eligible to vote in Tennessee. (Id. ¶ 4). Accordingly, the

Tennessee Election Officials and TN NAACP agree that applicants with felony convictions who

never lost the right to vote and/or who have had their rights restored are “eligible” to vote. 17

        The Court must determine, as a matter of law, whether Tennessee’s State Forms and state-

specific instructions on the Federal Form comply with the requirements of the NVRA. Under well-

established rules of statutory interpretation, the Court begins with the language of the statute itself.

Consumer Prod. Safety Comm’n, 447 U.S. 102, 108 (1980). Departure from the plain language of

a statute is disfavored and “appropriate only in rare cases [in which] the literal application of the

statute will produce a result demonstrably at odds with the intentions of its drafter … or when the

statutory language is ambiguous.” Hoge v. Honda of Am. Mfg., Inc. 384 F.3d 238, 246 (6th Cir.

2004) (quoting Kelley v. E.I. Dupont de Nemours & Co., 17 F.3d 836, 842 (6th Cir. 1994)).

Secretary Hargett and Coordinator Goins do not address statutory construction whatsoever and

make no arguments that the statutory text at issue has a plain meaning or is ambiguous. (See Doc.

Nos. 151, 180, 190 (making no reference to either plain meaning or ambiguity)). TN NAACP




17
        This reveals the factual inaccuracies in the Tennessee Election Officials’ contentions that “the
absence of a conviction for an infamous felony is a voter eligibility requirement” and that “the conviction
crime and date … are underlying preconditions for eligibility[.]” (Doc. No. 180 at PageID # 2873).

                                                    37

Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 37 of 51 PageID #: 3677
contends the language of the statute is not ambiguous and the Court must therefore give the statute

its plain meaning.18

        The NVRA does not define the terms “inform” or “specifies,” so the Court must look to

the ordinary meaning of these terms at the time Congress enacted the statute. Perrin v. United

States, 444 U.S. 37, 42 (1979); see, e.g., Niz-Chavez v. Garland, 593 U.S. 155, 160 (2021) (“When

called on to resolve a dispute over a statute’s meaning, [courts] normally seek[] to afford the law’s

terms their ordinary meaning at the time Congress adopted them.”). In 1993, the term “inform”

was defined as “to make known: give instruction in” and “to give information: impart knowledge.”

Webster’s Third New International Dictionary 1160 (1993). “Specify” was defined as “to mention

or name in a specific or explicit manner: to tell or state precisely or in detail.” Id. at 2187.

        As noted above, the Tennessee Election Officials do not identify a plain meaning of the of

terms “inform” or “specifies,” argue these terms are ambiguous, or otherwise engage in the

requisite legal analysis to determine the meaning of statutory language. (See Doc. No. 151 at

PageID #1080-82; Doc. No. 180 at PageID # 2873-79). Instead, Secretary Hargett and Coordinator

Goins rely on an Eleventh Circuit case for the proposition that the NVRA is a “notice statute” and

submit that “[b]y specifying the eligibility requirement – namely, the absence of a disqualifying

felony – and by linking to a website describing what constitutes a disqualifying felony,19


18
         See Doc. No. 154 at 11 (Arguing that the NVRA “plainly means to supply potential voters with
enough accurate information to understand their own eligibility to register and vote”); Doc. No. 192 at 5
(arguing the Court should not follow Thompson v. Sec. of State for the State of Alabama, 65 F.4th 1288 (11
Cir. 2023), because of its “unpersuasive” approach to statutory interpretation and because “when the terms
of a statute are plain and unambiguous, as here, the ‘inquiry begins with the statutory text, and ends there
as well.’”).
19
         The website contains a list of crimes that permanently disqualify an individual from voting. See
Tennessee Secretary of State, https://sos.tn.gov/restoration. It contains an explanation of the procedure for
restoring an individual’s voting rights when lost due to a felony conviction after May 18, 1981. Id. It states
that individuals with felony convictions between January 15, 1973, and May 17, 1981, are eligible to vote,
but that the Election Division must verify that the individual’s conviction occurred during that period. Id.

                                                     38

Case 3:20-cv-01039          Document 221          Filed 04/18/24        Page 38 of 51 PageID #: 3678
Tennessee’s current State Form puts applicants on notice about who qualifies to successfully

register to vote,” and nothing more is required. (Doc. No. 151 at PageID# 1082 (citing Thompson

v. Sec. of State for the State of Ala. 65 F.4th 1288, 1309 (11th Cir. 2023); see also Doc. No. 180 at

PageID # 2879 (“Tennessee’s voter registration application complies with the NVRA because it

sufficiently notifies applicants that the absence of a conviction for an infamous felony is a voter

eligibility.”).20 Thus, the Tennessee Election Officials appear to assert that the current State Form

satisfies the NVRA because it includes a link to the Tennessee Secretary of State’s website “where

the reader can find information necessary to evaluate one’s eligibility.” (Doc. No. 180 at PageID

# 2874-78; Doc. No. 151 at PageID # 1081). Stated another way, the Tennessee Election Officials

argue the information and instructions provided on the Tennessee Secretary of State’s website

“specify the eligibility requirement related to felony convictions and inform applicants that certain

felons are ineligible to vote …in compliance with the NVRA.” (Doc. No. 180 at PageID # 2874;

see e.g., id. at PageID # 2879 (“But including all the information listed on the Secretary of State’s

website [on the State Form] would result in an application of unwieldly length and unusable

format.”)).

        And while Secretary Hargett and Coordinator Goins fail to argue a plain meaning of the

statutory terms at issue in Count Four – “inform” or “specifies” – they rely on out of circuit

authority to argue what these terms do not mean. First, the Tennessee Election Officials argue that

“Section 20508(b)’s ‘specif[ication]’ requirement does not mandate that states list every



It also provides a list of crimes that resulted in the loss of the right to vote prior to January 15, 1973, but
includes a disclaimer stating, “Even if you were convicted of a crime listed above, you still have the right
to vote if you can show that at the time of your conviction the judge did not render you ‘infamous,’ if your
conviction was reversed on appeal or expunged, if you received a full pardon, or if you have your voting
rights restored.” Id.
20
         The Tennessee Election Officials state that “functionally similar language is provided as a state-
specific instruction on the Federal Form.” (Doc. No. 180 at PageID# 2874).

                                                      39

Case 3:20-cv-01039          Document 221           Filed 04/18/24        Page 39 of 51 PageID #: 3679
disqualifying felony or exhaustively describe the rules underlying each eligibility of Tennessee’s

four eligibility requirements.” (Doc. No. 151 at PageID # 1082 (citing Thompson. 65 F.4th at 1308-

09)). Second, Secretary Hargett and Coordinator Goins assert that “every disqualifying felony”

and “describing the rules underlying each of Tennessee’s four eligibility requirements” would

make the forms “unworkable,” “unwieldy and unnecessarily complicated.” (Id. (citing League of

Women Voters of Florida, Inc. v. Byrd, No. 23-cv-165 (N.D. Fla. Jul. 10, 2023); see also Doc. No.

180 at PageID# 2879 (“The NVRA does not prescribe a voter-registration application composed

of a comprehensive list of every felony conviction that results in the loss of the right to vote, nor

does it require that the application contain a primer on voting rights restoration.”)).21

       TN NAACP submits that the plain meaning of “inform applicants … of voter eligibility

requirements” in Section 20507(a)(5)(A) is “to supply potential voters with enough accurate

information to understand their own eligibility to register and vote.” (Doc. No. 154 at PageID #

2290). It argues that the requirement that the forms “specif[y] each eligibility requirement” means

that the eligibility requirements must be named or stated “explicitly or in detail.” (Doc. No. 154 at

PageID # 2291 (quoting Kucana v. Holder, 558 U.S. 233, 243 n.10 (2010) (quoting Websters New

Collegiate Dictionary 1116 (1974)). In sum, TN NAACP submits that the plain meaning of

“specifies” as used in Section 20508(b)(2)(A) is to state each eligibility requirement on the

registration forms in a manner that enables applicants with past convictions to determine their

eligibility. (Doc. No. 154 at PageID # 2291).

       TN NAACP argues that Tennessee’s voter registration forms do not comply with the

NVRA requirement to “inform applicants … of voter eligibility requirements” and to “specif[y]

each eligibility requirement” because the forms do not state that citizens with felony convictions


21
         This is an argument against a straw man because TN NAACP does not argue the State Form should
list any disqualifying felonies or explain the process for restoration of voting rights.

                                                  40

Case 3:20-cv-01039        Document 221          Filed 04/18/24     Page 40 of 51 PageID #: 3680
in the grace period fully retain their right to vote or that citizens with non-infamous pre-1973

convictions are likewise eligible.22 (Doc. No. 182 at PageID # 2951 (citing Doc. Nos. 156-10, 156-

11, 156-12, 156-13, 156-14)). TN NAACP also notes that the current version of the State Form

does not specify that felony convictions are no longer disqualifying upon the restoration of the

right to vote and that earlier iterations of the state form that are still in use provide only an incorrect

instruction that to be eligible “you must not have been convicted of a felony, or if you have, your

voting rights must have been restored.” (Id. at PageID # 2951-52 (citing Doc. Nos. 1-2, 156-10,

156-13, 156-14)). TN NAACP contends “[t]his failure by Tennessee to specify, in detail, on its

voter registration forms when voters with felony convictions are eligible to vote, and its provision

of inaccurate information, contravene the NVRA’s requirement to ‘inform applicants … of voter

eligibility requirements.’” (Doc. No. 182 at PageID # 2952).

        As it must, the Court begins its consideration of this issue with statutory construction,

which, as the Court noted above, was not thoroughly briefed by TN NAACP and was not briefed

whatsoever by the Tennessee Election Officials. The Court is not persuaded that the statute’s use

of the term “specify” is unambiguous. TN NAACP asserted the dictionary definition, which is to

“name or state explicitly or in detail.” See Kucana v. Holder, 558 U.S. 233, 243 n.10 (2010)

(quoting Websters New Collegiate Dictionary 1116 (1974)). But this definition, which contains

more than one “or,” does not resolve the question presented here. Secretary Hargett and

Coordinator Goins appear to argue that the state complies with the NVRA if it names the voter

eligibility requirements, while TN NAACP focuses on the part of the definition that requires detail.



22
         TN NAACP asserts these deficiencies apply to the current version of the State Form and the
Tennessee-specific instructions on the Federal Form, and except for the omission regarding restoration of
voting rights, to prior versions of the State Form that are still in circulation and use. (Doc. No. 182 at PageID
# 2951). TN NAACP agrees that certain prior versions of the State Form specified that citizens with felony
convictions are not ineligible to vote if their voting rights had been restored. (Id.).

                                                       41

Case 3:20-cv-01039           Document 221           Filed 04/18/24        Page 41 of 51 PageID #: 3681
In this sense the statute is ambiguous concerning what is means to “specif[y] each eligibility

requirement.” Is it sufficient, as Secretary Hargett and Coordinator Goins appear to contend, to

merely list or provide notice of the voter eligibility requirements, or, as TN NAACP argues, is a

greater level of detail required? The parties have not provided adequate briefing for the Court to

resolve the plain meaning of the word “specify.”

       As stated above, Secretary Hargett and Coordinator Goins provide no briefing on the issue

of statutory construction, and the two cases cited by the Tennessee Election Officials do not aid

the Court on this issue. In Thompson v. Sec. of State for the State of Ala., the court merely notes

that the verb “specifies” is not defined by the NVRA, and then finds that the plaintiff’s argument

that the NVRA requires the state to list every disqualifying state, federal, and foreign felony on its

voter registration forms is an “absurd, unworkable, and internally inconsistent interpretation of

§20508(b)(2)(A).” 65 F.4th 1288, 1308 (11th Cir. 2023). That court’s brief consideration of the

claim does not engage in any analysis of statutory construction, let alone consider whether the

statute has a plain meaning or is ambiguous. Id. at 1308-09. Moreover, the relief requested by the

Thompson plaintiff, which apparently would have included a lengthy list of every federal, state,

and foreign felony deemed to involve moral turpitude, is not comparable to the limited information

TN NAACP seeks to have included on the State Form.

       The second case cited by the Tennessee election officials, League of Women Voters of

Florida, Inc. v. Byrd, Case No. 4:23-cv-165-AW-MAF (N.D. Fla. Jul. 10, 2023) (Westlaw cite not

available), is also not helpful on the issue of statutory construction. In that case, the court

considered whether the NVRA required the voter registration form, which provided that convicted

felons could not register to vote until their right to vote is restored, was required to specify the

various means by which a felon may have his or her voting rights restored. The court concluded



                                                 42

Case 3:20-cv-01039        Document 221         Filed 04/18/24      Page 42 of 51 PageID #: 3682
that NVRA did not require such specificity because the eligibility requirement was simply that

voting rights had been restored. The level of specificity on this requirement is not at issue in this

case.23 The Florida District Court did not consider the level of specificity required for the

eligibility requirement regarding felony convictions or engage in meaningful statutory

construction on that issue.

        TN NAACP has largely assumed the terms of the statute are plain and unambiguous, with

the caveat that “to the extent th[e] Court perceives any ambiguity in the NVRA’s mandate to

specify and inform or seeks guidance about what level of specificity is required, it must look to

the statutory context. The NVRA’s express purposes, surrounding provisions, and legislative

history all indicate that ‘to specify’ means to include information on the face of the form sufficient

to enable applicants (including those with past convictions) to easily and privately determine their

eligibility.” (Pl. Reply to Def. Motion for Summary Judgment, Doc. No. 192 (citing Pl. Mem. in

Support of Pl. Motion for Summary Judgment, Doc. No. 154 at 10-11)). TN NAACP points to

House and Senate reports noting the importance that applicants “be advised of the voting

requirements,” that “all registration requirements should be set forth in the application,” and “the

importance of the voter eligibility specifications for maintaining accurate lists of only eligible

voters and preventing fraud.” (Doc. No. 154 at 10-11 (emphasis provided by TN NAACP) (citing

S. Rep. 103-6 at 24; H.R. Rep. 103-9 at 7-8). But the cited legislative history, while perhaps

instructive of individual legislators’ intentions, does not allow the Court to determine that TN

NAACP’s requested level of specificity is required by the terms of the NVRA.




23
         The Court notes, however, that League of Women Voters of Florida appears to support TN
NAACP’s argument that the form must state that felons whose voting rights have been restored are eligible
to register to vote.

                                                   43

Case 3:20-cv-01039         Document 221         Filed 04/18/24       Page 43 of 51 PageID #: 3683
       Nevertheless, the Court is not deciding between two competing proposals for the language

on Tennessee’s State Forms. Rather, the Court must determine whether Tennessee’s State Forms,

(Doc. Nos. 156-12, 156-10), comply with the NVRA’s requirements to “inform … applicants of

voter eligibility requirements” and to “specif[y] each eligibility requirement.” Whatever level of

specificity the NVRA requires, there is no question in the Court’s mind that voter applicants are

not “informed” of the voter eligibility requirements unless the information presented on the form

is accurate and not misleading. TN NAACP has identified two statements / omissions in this

regard. First, the prior version of the form states, “you must not have been convicted of a felony,

of if you have, your voting rights must have been restored.” (See Doc. No. 156-12). As TN

NAACP points out, this statement is overly inclusive, as not all felons who have not had their

voting rights restored are ineligible to vote. As a result, prospective voters who have been

convicted of a non-disqualifying felony would be deterred from registering to vote.

       The revised State Form attempts to correct this over-inclusiveness by stating that an

applicant’s eligibility to register and vote “depends upon the crime you were convicted of and the

date of your conviction.” (Doc. No. 156-10). The form then provides a website that has additional

information, including information about voting rights restoration. (Id. (referring applicants to

Tennessee Secretary of State, https://sos.tn.gov/restoration)). But the form itself does not inform

applicants that felons who have had their voting rights restored, irrespective of the crime and date

of conviction, are not disqualified. Like the misleading statement in the first form, this omission

could deter eligible voters.

       For the foregoing reasons, the Court finds that Tennessee’s State Forms, (Doc. Nos. 156-

12, 156-10), do not comply with the NVRA’s requirement under Section 20507(a)(5)(A) to

“inform … applicants of voter eligibility requirements.” Accordingly, TN NAACP’s motion for



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Case 3:20-cv-01039        Document 221        Filed 04/18/24      Page 44 of 51 PageID #: 3684
summary judgment will be GRANTED as to this part of Count Four. The Court further finds that

the parties have not provided sufficient briefing for the Court to determine what level of specificity

is required under Section 20508(b)(2)(A). Accordingly, both sides’ motions for summary

judgment will be DENIED without prejudice as to this part of Count Four.

        2. Count Six

        At issue in Count Six is Tennessee’s policy of rejecting valid Federal Forms and State

Forms timely submitted by eligible applicants with felony convictions and requiring these eligible

applicants to provide additional documents as further proof of their eligibility. TN NAACP,

Secretary Hargett, and Coordinator Goins agree that there are no genuine disputes as to any

material fact with regard to Count Six. (See Doc. No. 181 ¶¶ 2-4, 37-68). As such, the parties agree

to the foregoing facts:

        An otherwise qualified person with a grace period felony conviction and/or pre-1973 non-

infamous felony conviction never lost their right to vote as a result of such a conviction. (Id. ¶¶ 2-

3). Expunged felony convictions and felony convictions subject to judicial diversion also do not

result in the loss of the right to vote in Tennessee. (Id. ¶ 56). Additionally, an otherwise qualified

person with a disenfranchising felony who has received a pardon or has their voting rights restored,

is eligible to vote in Tennessee. (Id. ¶ 4).

        Counties in Tennessee receive and retain “Felon files” from various sources, including

court orders, U.S. Attorneys, the Tennessee Department of Corrections, the Election Division, the

state felon list, other county election officials, clerks of court, and jury coordinators, notifying

them of new state, out-of-state, and federal felony convictions as well as all convictions for a

person going back in time, including the date of judgment, conviction, or sentence. (Id. ¶¶ 60-62).

Under the Election Division’s policy, county election commissions check every registration

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Case 3:20-cv-01039         Document 221        Filed 04/18/24      Page 45 of 51 PageID #: 3685
applicant indicating a felony conviction against their Felon files. (Id. ¶ 59). County election

officials routinely rely on information in Felon files to purge voters with felony convictions from

the voter roles as part of their regular voter-roll maintenance. (Id. ¶ 64). Additionally, county

election officials can confirm an applicant’s eligibility to vote by contacting the Election Division

and/or other county election officials. (Id. ¶ 66).

        Tennessee’s policy from 2014 to at least July 21, 2023, directed county election officials to

reject registration applications indicating an otherwise qualified person has: (1) a grace period

felony conviction, (2) a pre-1973 non-infamous felony conviction, (3) only expunged felony

convictions, (4) only convictions subject to judicial diversion, (5) received a pardon for any

disenfranchising conviction, and/or (6) has had their voting rights restored, and to require such

applicants to file a copy of their respective judgement, conviction papers, court documentation of

expungement, judicial diversion, receipt of a pardon, and/or restoration of voting rights. (Id. ¶¶ 43-

45, 51-52, 54-58).24

        In Count Six, TN NAACP claims Tennessee’s challenged policy violates the NVRA

because it imposes an unnecessary requirement in a non-uniform and discriminatory manner and

does not ensure that any eligible applicant is registered if their valid registration form is timely

received or “accept and use” the Federal Form. (Doc. No. 154 at PageID # 2294-98 (citing 52

U.S.C. §§ 20507(a)(1), (b)(1), 20505(a)(1), 20508(b)(1)). Secretary Hargett and Coordinator




24
         As previously noted, on July 21, 2023, Tennessee changed its policy to direct county election
officials to process registration applications indicating an otherwise qualified person has a grace period
felony conviction or a pre-1973 non-infamous felony conviction. (Doc. No. 181 ¶¶ 75,77).

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Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 46 of 51 PageID #: 3686
Goins deny that Tennessee’s challenged policy, with respect to State Forms, violates the NVRA.

(Doc. No. 151 at PageID # 1084).25

        TN NAACP points to the Supreme Court’s interpretation of “valid” in this context to mean

“a completed copy of the form.” See ITCA, 570 U.S. 1, 12 (2013). It argues that Tennessee’s

challenged policy does not “ensure” registration of eligible voters because it necessarily sweeps

multiple categories of facially eligible voters with past felony convictions into the rejection pool.

TN NAACP argues the additional documentation required of some applicants under Tennessee’s

challenged policy is unnecessary because the attested information on the State Form – crime(s)

and date and place of conviction and whether they have received pardon or had voting rights

restored – is plainly sufficient for the State to assess whether the applicant has a grace-period

conviction or a pre-1973 conviction of a crime that could not have rendered them ineligible to vote

and/or whether the applicant’s voting rights have been restored from a pardon or otherwise. (Doc.

No. 154 at PageID # 2301-02).26

        TN NAACP further argues that, even if it were necessary for state election officials to look

beyond the attested information in the voter registration form, the undisputed material facts

establish that county and state election officials already have access to information sufficient to

assess eligibility, which therefore obviates the claimed need for applicants to provide


25
         Tennessee Election Officials do not respond to TN NAACP’s argument for summary judgment that
Tennessee’s policy of requiring applicants using the Federal Form to submit documentation proof of voting
rights restoration violates Section 20505(a)(1) of the NVRA. (Doc. No. 154 at PageID # 2300-01; Doc. No.
180 at PageID # 2882)). Accordingly, this part of TN NAACP’s motion will be granted as unopposed.
26
        TN NAACP also cites to Fish v. Kobach where the Tenth Circuit interpreted the necessity provision
under Section 20504(c)(2) “as establishing the attestation requirement in every case as the presumptive
minimum amount of information necessary for a state to carry out its eligibility-assessment and registration
duties.” 840 F.3d 710, 738 (10th Cir. 2016). The Tennessee Election Officials respond that Fish is
distinguishable because it addressed Section 20504(c)(2), which is not at issue in this case. (See Doc. No.
180 at PageID # 2883-84).

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Case 3:20-cv-01039          Document 221         Filed 04/18/24        Page 47 of 51 PageID #: 3687
documentation. (Doc. No. 154 at PageID # 2302-05 (citing Doc. No. 181 ¶¶ 59-68)). Finally, TN

NAACP argues Tennessee’s challenged policy imposes unjustified burdens and barriers to

registration on a class of applicants – those with prior felony convictions – that do not apply to

other classes of applicants. (Doc. No. 154 at PageID # 2305-06).

       Secretary Hargett and Coordinator Goins do not dispute that applicants with felony

convictions who never lost the right to vote or who have had their rights restored are “eligible” to

vote. The Tennessee Election Officials do not respond to TN NAACP’s argument that “valid” in

this context means “a completed copy of the form.” Secretary Hargett and Coordinator Goins do

not dispute that Tennessee’s challenged policy ensures that eligible applicants will be rejected. Nor

do the Tennessee Election Officials rebut TN NAACP’s contentions that: (1) the information

attested to on the State Form is sufficient for the State to verify whether the applicant has a grace-

period conviction or a pre-1973 conviction of a crime that could not have rendered them ineligible

to vote and/or whether the applicant’s voting rights have been restored from a pardon or otherwise,

and (2) that, even if it were necessary for county and state election officials to look beyond the

attested information, they already have access to information sufficient to confirm an applicant’s

eligibility. Additionally, Secretary Hargett and Coordinator Goins do not dispute that Tennessee’s

challenged documentation policy imposes a barrier to registration to vote in elections for Federal

office on a class of applicants – those with felony convictions – that does not apply to other classes

of applicants.

       Instead, Tennessee Election Officials submit that Tennessee’s policy of rejecting State

Forms from certain applicants until they submit certain documentation does not violate the NVRA

because (1) in ITCA, 570 U.S. at 12, the Supreme Court said that State Forms “may require

information the Federal Form does not,” and (2) Tennessee “determined that it needs

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Case 3:20-cv-01039        Document 221         Filed 04/18/24      Page 48 of 51 PageID #: 3688
documentation from [certain] applicants … so that the State may assess the eligibility of the

applicant and administer voter registration and other parts of the election process.” (Doc. No. 151

at PageID # 1084; Doc. No. 180 at PageID # 2881-82; Doc. No. 190 at PageID # 3200-01).

        While Secretary Hargett and Coordinator Goins are correct that in ITCA the Supreme Court

stated that State Forms “may require information the Federal Form does not,” this statement does

not stand for the proposition that states may require information on their State Forms carte blanche,

as the Tennessee Election Officials appear to suggest.27 Section 20505(a)(2) authorizes states to

develop and use a mail in voter registration form so long as it “meets all the criteria stated in

section 20508(b) of this title for the registration of voters in elections for federal office.” The

Federal Form must also meet all the criteria stated in Section 20508(b). See §§ 20505(a)(1),

20508(a)(2), 20508(b). The criteria stated in Section 20508(b) are as follows:

                (1) May require only such identifying information (including the
                    signature of the applicant) and other information (including data
                    relating to previous registration by the applicant), as is necessary
                    to enable the appropriate State election official to assess the
                    eligibility of the applicant and to administer voter registration
                    and other parts of the election process;

                (2) Shall include a statement that –

                    a. Specifies each eligibility requirement (including citizenship);

                    b. Contains an attestation that the applicant meets each such
                       requirement; and

                    c. Requires the signature of the applicant, under penalty of perjury;




27
         In ITCA, the Supreme Court answered the sole question of whether Arizona’s law requiring Federal
Form applicants to produce documentation proving their citizenship conflicted with Section 20505(a)(1)’s
mandate that States “accept and use” the Federal Form. ITCA, 570 U.S. at 15. Neither Arizona’s State Form
nor its policies for processing its State Form were at issue in ITCA. As a result, ITCA did not involve any
rulings as to whether Arizona’s State Form or policy for processing the same were in conflict with any
provision of the NVRA.

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Case 3:20-cv-01039         Document 221          Filed 04/18/24       Page 49 of 51 PageID #: 3689
               (3) May not include any requirement for notarization or other
                   formal authentication; and

               (4) Shall include, in print that is identical to that used in the
                   attestation portion of the application –

                   i. The information required in section 20507(a)(5)(A) and (B)
                      of this title;

                   ii. A statement that, if an applicant declines to register to vote,
                       the fact that the applicant has declined to register will remain
                       confidential and will be used only for voter registration
                       purposes; and

                   iii. A statement that if an applicant does register to vote, the
                        office at which the applicant submits a voter registration
                        application will remain confidential and will be used only
                        for voter registration purposes.

       Because State Forms must meet all of the criteria stated in Section 20508(b), see Section

20505(a)(2), and one of the criteria stated in Section 20508(b) is that the form “may require only”

information “as is necessary to enable the appropriate State election official to assess the eligibility

of the applicant,” see Section 20508(b)(1), it follows that a State Form “may require only”

information “as is necessary to enable the appropriate State election official to assess the eligibility

of the applicant.’” As states do not have uniform requirements for persons to register to vote, this

necessarily means that State Forms “may require information the Federal Form does not.”

       Thus, Secretary Hargett and Coordinator Goins are correct that State Forms may require

information the Federal Form does not. see ITCA, 570 U.S. at 12; see also McKay v. Thompson,

226 F.3d 752, 755-56 (6th Cir. 2000) (Tennessee could require applicants to provide social security

number on registration form); Young v. Fordice, 520 U.S. 273, 286 (1997) (State has discretion to

decide whether State Form tells applicants that registration counts only for federal elections).28



28
      Neither Young nor McKay concerned or contemplated a requirement for applicants to provide
documentation beyond a voter registration form itself.

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Case 3:20-cv-01039         Document 221         Filed 04/18/24      Page 50 of 51 PageID #: 3690
However, the Tennessee Election Officials are incorrect in suggesting that this concept – of being

able to require information the Federal Form does not – means Tennessee’s challenged policy is

compliant with compliant with Sections 20507(a)(1), (b)(1), 20508(b)(1) of the NVRA.

       The Tennessee Election Officials’ argument that Tennessee determined it needs

documentation to assess the eligibility of applicants with felony convictions appears to advance

Justice Alito’s position in his dissent in ITCA – that the NVRA “lets the States decide for

themselves what information ‘is necessary.’” 570 U.S. at 46-47 (Alito, J., dissenting) (quoting

statutory text currently found at 52 U.S.C. § 20508). The majority in ITCA rejected such an

understanding of federal election regulation. 570 U.S. at 12-15. The Court need not reach the legal

merits of this argument in the present case because Secretary Hargett and Coordinator Goins fail

to direct the Court to any evidence in the record of Tennessee making such a determination.

       As it is undisputed that county and state election officials have the information the State

says it needs to assess an applicant’s eligibility, Tennessee’s challenged documentation policy does

not comply with the NVRA’s prohibition against requiring unnecessary information. 52 U.S.C. §

20508(b)(1). Tennessee’s challenged policy also fails to comply with Sections 20507(a)(1) and

(b)(1) given that it is undisputed Tennessee’s challenged documentation policy imposes an

unnecessary requirement in a non-uniform manner that does not ensure eligible applicants are

registered if their valid registration form is timely received. Accordingly, for the foregoing reasons,

TN NAACP’s motion for summary judgment will be granted as to Count Six and the Tennessee

Election Officials’ motion for summary judgment will be denied as to Count Six.

       An appropriate Order shall enter.

                                                    ___________________________________
                                                    WILLIAM L. CAMPBELL, JR.
                                                    CHIEF UNITED STATES DISTRICT JUDGE

                                                  51

Case 3:20-cv-01039        Document 221         Filed 04/18/24       Page 51 of 51 PageID #: 3691
